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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                        Senior District Judge Richard P. Matsch

Civil Action No. 07-cv-00371-RPM

CHARLES CALDWELL and
VICKI CALDWELL,

                     Plaintiffs,
v.

THE COUNTY OF PARK, a body incorporate and politic and political subdivision of the
State of Colorado,
FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and
MARK DAMON,

                     Defendants.


_____________________________________________________________________

  ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
         ANSWER ON BEHALF OF DEFENDANT SHAWNA WHITEOWL
_____________________________________________________________________

       Upon consideration of Defendant Shawna Whiteowl’
                                                      s unopposed motion for

extension of time to file an answer (Doc. #11), filed on March 20, 2007, it is

       ORDERED that the motion is granted to and including April 16, 2007.

       DATED: March 20th, 2007

                                          BY THE COURT:


                                          s/Richard P. Matsch
                                          __________________________
                                          Richard P. Matsch, Senior Judge
